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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MISSOURI

                                      )
 ANGELA GATERMAN and                  )
 ROBERT A. PAULI, JR.,                )        No. 17-CV-2837-JCH
                                      )
       Plaintiffs,                    )
                                      )
 v.                                   )
                                      )
 KAVULICH & ASSOCIATES,               )
 P.C. and GARY KAVULICH,              )
                                      )
       Defendants.                    )
                                      )
                                      )
                                      )

                 MOTION FOR EXTENSION OF DEADLINES

       PLEASE TAKE NOTICE, that upon the Court’s Order dated May 23,

 2018 (a copy of which is attached to this Motion as Exhibit A), Plaintiffs

 respectfully move this Court, under Local Civil Rule 6-1.05, to extend all

 deadlines contained in the May 23 Order by 21 days, and for such other and

 further relief as this Court may deem just and equitable.

       The reason for this request is that Plaintiffs’ attorney, who is a solo

 practitioner, experienced an unexpected health problem in late May and

 early June that severely limited his ability to work. As neither Defendant has

 appeared in this action, Plaintiffs do not believe any party would be

 prejudiced by this extension.

       Currently, Plaintiffs’ deadline to complete punitive damages discovery

 is Friday, June 22, and their deadline to submit the materials requested by
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 the Court is Monday, July 9. Should the Court grant this Motion, the new

 deadlines would be Friday, July 13 and Monday, July 30, respectively.

 Dated: Winston-Salem, NC
        June 19, 2018

                                /s/ Jonathan R. Miller
                                Jonathan R. Miller, MO Bar #64031
                                Law Office of Jonathan R. Miller, PLLC
                                (d/b/a Salem Community Law Office)
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           Exhibit A
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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MISSOURI
                          EASTERN DIVISION


ANGELA GATERMAN and              )
ROBERT A. PAULI, JR.,            )
                                 )
                                 )
       Plaintiffs,               )
                                 )
   vs.                           )                  Case No. 4:17CV2837JCH
                                 )
KAVULICH & ASSOCIATES, P.C., and )
GARY KAVULICH,                   )
                                 )
       Defendants.               )

                                     ORDER

      Before the Court is Plaintiffs’ Motion for Default Judgment which Plaintiffs

filed on April 5, 2018. (ECF 9). In their Motion for Default Judgment, Plaintiffs

ask the Court to deem all facts alleged in their “Complaint as admitted by law,” to

hold that Defendants violated the Fair Debt Collection Practices Act, 15 U.S.C. §

1692 et seq., and committed the tort of malicious prosecution as alleged in

Plaintiffs’ Complaint, to grant them leave to conduct discovery on the issue of

“malice for the purpose of establishing liability and punitive damages on Plaintiffs’

malicious prosecution claim,” and to hold that they are entitled to recover the sum

certain of $4,593.75 from Defendants. Plaintiffs also ask the Court to schedule “an

evidentiary hearing to determine the amount of Plaintiffs’ emotional distress
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damages and the amount of punitive damages against Defendants.”

        On the same date that Plaintiffs filed the Motion for Default Judgment, they

also filed a Motion for Entry of Clerk’s Default pursuant to Fed. R. Civ. P. 55(a).

(ECF 8). On April 16, 2018, the Clerk’s Entry of Default issued. (ECF 11). The

only matter that remains to be determined in this case, therefore, is the amount of

Plaintiffs’ damages. In regard to a determination of the amount of damages after

the Clerk’s entry of default, Rule 55(b) provides:

        (b) Entering a Default Judgment.

        (1) By the Clerk. If the plaintiff's claim is for a sum certain or a sum
        that can be made certain by computation, the clerk--on the plaintiff's
        request, with an affidavit showing the amount due--must enter
        judgment for that amount and costs against a defendant who has been
        defaulted for not appearing and who is neither a minor nor an
        incompetent person.

        (2) By the Court. In all other cases, the party must apply to the court
        for a default judgment. . . . The court may conduct hearings or make
        referrals . . . when, to enter or effectuate judgment, it needs to: . . .
        (B) determine the amount of damages[.]

        The Court has considered the allegations of Plaintiffs’ Complaint, the

procedural history of this case, and Fed. R. Civ. P. 55 and finds that Plaintiffs’

Motion for Default Judgment should be granted, in part, and held in abeyance, in

part.




                                           2
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      Accordingly,

      IT IS HEREBY ORDERED that Plaintiffs’ Motion for Default Judgment

(ECF 9) is GRANTED, in part, and HELD IN ABEYANCE, in part;

      IT IS FURTHER ORDERED that Plaintiffs are GRANTED thirty (30)

days from the date of this Order to conduct discovery relevant to punitive damages

and Plaintiffs’ emotional distress damages;

      IT IS FURTHER ORDERED that, no later than forty-five (45) days from

the date of this Order, Plaintiffs shall submit a proposed default judgment order

setting forth the total amount of damages to which they allege they are entitled and

specifying actual damages, punitive damages, and damages for emotional distress;

Plaintiffs shall also submit a supporting memorandum; and, to the extent Plaintiffs

claim that their damages are a sum certain or a sum that can be made certain by

computation, Plaintiffs shall submit an affidavit showing the amount due;

      IT IS FURTHER ORDERED that Defendants have seven (7) days from

the date Plaintiffs submit a proposed default judgment order and supporting

memorandum to file a response;

      IT IS FURTHER ORDERED that Plaintiffs have seven (7) days from the

date Defendants file a response to file a reply; and

      IT IS FINALLY ORDERED that, after the parties have had the

opportunity to brief the issue of damages, the Court will set the issue of damages


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for hearing if it determines a hearing is necessary and will subsequently enter

Default Judgment in Plaintiffs’ favor.

Dated this 23rd Day of May, 2018.


                                         /s/ Jean C. Hamilton
                                         UNITED STATES DISTRICT JUDGE




                                         4
